                                                Case 19-51667-bem                         Doc 33    Filed 07/30/21 Entered 07/30/21 17:21:40                                       Desc
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                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:  19-51667-BEM                                                                                                                          Trustee Name:        (300320) S. Gregory Hays
Case Name:   JOHNSON, KELVIN BERNARD                                                                                                             Date Filed (f) or Converted (c): 01/31/2019 (f)
             JOHNSON, TRACEY ANN
                                                                                                                                                 § 341(a) Meeting Date:       03/11/2019
For Period Ending:      06/30/2021                                                                                                               Claims Bar Date: 06/20/2019

                                                      1                                                  2                              3                            4                      5                          6

                                             Asset Description                                        Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                          Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                       Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                          and Other Costs)                                                             Remaining Assets

    1       4815 Village Square NW, Acworth, GA 30102-0000, Cobb County                                      217,000.00                               0.00                                              0.00               217,000.00
            The Trustee has identified an attestation issue with the first position security deed
            on Debtors’ home. See asset # 15. Trustee expects to sell property once security
            interest matter is resolved.

    2       2018 Lexus RX 350, 7,000 miles (Leased)                                                            1,000.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed, Dkt # 16.

    3       2017 Hyundai Sonata SE, 30,000 miles                                                              13,000.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed, Dkt # 16.

    4       2010 Lexus ES, 160,000 miles                                                                       6,000.00                               0.00           OA                                 0.00                        FA
            Notice of abandonment filed, Dkt # 16.

    5       Household Goods                                                                                    1,500.00                               0.00                                              0.00                        FA

    6       Clothing                                                                                              300.00                              0.00                                              0.00                        FA

    7       Checking: Bank of America                                                                          1,500.00                               0.00                                              0.00                        FA

    8       Checking: USAA                                                                                        100.00                              0.00                                              0.00                        FA

    9       Checking: Bank of America Business Checking                                                           700.00                              0.00                                              0.00                        FA

    10      Kaufmann Enterprises LLC, 100% ownership                                                                1.00                              0.00                                              0.00                        FA

    11      KAPS Staffing LLC, 100% ownership                                                                       1.00                              0.00                                              0.00                        FA

    12      401 (k): VALIC                                                                                    60,000.00                               0.00                                              0.00                        FA

    13      401 (k): TransAmerica                                                                             10,000.00                               0.00                                              0.00                        FA

    14      401 (k): TransAmerica                                                                             48,000.00                               0.00                                              0.00                        FA

    15      Adversary case 20-06026. Complaint against New Day Financial (Avoid lien on                             0.00                              0.00                                              0.00                     0.00
            Real Property) (u)
            See asset 1, 4815 Village Square, Acworth

   15       Assets                Totals        (Excluding unknown values)                               $359,102.00                                $0.00                                           $0.00              $217,000.00
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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case No.:  19-51667-BEM                                                                                                 Trustee Name:      (300320) S. Gregory Hays
Case Name:   JOHNSON, KELVIN BERNARD                                                                                    Date Filed (f) or Converted (c): 01/31/2019 (f)
             JOHNSON, TRACEY ANN
                                                                                                                        § 341(a) Meeting Date:   03/11/2019
For Period Ending:    06/30/2021                                                                                        Claims Bar Date: 06/20/2019



      Major Activities Affecting Case Closing:
                                   2/3/2020 - The Trustee has identified an attestation issue with the first position security deed on Debtors’ home and has filed adversary # 20-06026. If
                                   the Trustee is successful in the adversary, the Trustee intends to sell the real property located at 4815 Village Square NW, Acworth, GA 30102 free and
                                   clear of New Day Financial's lien.

                                   6/30/2021 - Adversary outcome is contingent on outcome of case with similar facts in another matter. Trustee will act accordingly when the other matter
                                   is resolved.

      Initial Projected Date Of Final Report (TFR):          06/30/2021                                 Current Projected Date Of Final Report (TFR):              06/30/2022


            07/30/2021                                                                                   /s/S. Gregory Hays

               Date                                                                                      S. Gregory Hays
